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Case 2:04-cv-02557-SHI\/|-dkv Document 16 Filed 06/27/05 Page 10f2 Pag:%$

IN THE UNITED STATES DIS'I`RICT COURT 05 j£ wl _`
FOR THE WESTERN DISTRICT OF TENNESSEE " J‘" 27 flra w 5 ‘,
WESTERN DIVISION

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a ‘.’,l :

 

EDWIN CONWAY and THELMA CONWAY,
Plaintiffs,
vs. Civil Action N004-2557-Ma./V

ALLSTATE INSURANCE COMPANY,

ED LIDDY, Individually & Offlcial Capacity,
RONALD CORBIN, Individually & Ofi'lcial Capacity,
JERRY TOLBERT, Individually & Offlcial Capacity,
WILL 'I`IMMONS, Individually & Official Capacity,
DONALD GARNER, Individually & Official Capacity,
TED GREGORY, Individually & Offlcial Capacity,

Defendants.

 

ORDER ON MO'I'ION TO AMEND COMPLAINT

 

For good cause Shown, the Plaintiffs’ Motion to Amend Complaint is granted lt is

hereby Ordered, Adjudged and decreed that Plaintiffs are hereby granted leave to amend their

Complaint in the above-styled ca se. 7 U/{¢»é/ §7£4.&, w MM¢&J .
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E IT 30 ORDERED, this o? day of ,2005. »’”

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Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 2:04-CV-02557 Was distributed by faX, mail, or direct printing on
June 29, 2005 to the parties listed.

ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

